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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF OHIO
                                 EASTERN DIVISION

                                                          :
KBW INVESTMENT PROPERTIES, LLC                            :
                                                          :
v.                                                        :
                                                          :
ALEX AZAR,                                                :      Case No. 2020-cv-
IN HIS OFFICAL CAPACITY AS SECRETARY                      :
U.S. DEPARTMENT OF HEALTH AND                             :
HUMAN SERVICES                                            :      Judge
                                                          :
&                                                         :      Magistrate
                                                          :
U.S. DEPARTMENT OF HEALTH AND                             :
HUMAN SERVICES                                            :
                                                          :
&                                                         :
                                                          :
NINA B. WITKOFSKY,                                        :
IN HER OFFICIAL CAPACITY AS ACTING                        :
CHIEF OF STAFF U.S. CENTERS FOR                           :
DISEASE CONTRACT AND PREVENSION                           :
                                                          :
&                                                         :
                                                          :
U.S. CENTERS FOR DISEASE CONTROL                          :
AND PREVENTION                                            :
                                                          :
&                                                         :
                                                          :
FRANKLIN COUNTY, OHIO MUNICIPAL COURT                     :
C/O HONORABLE JARROD B. SKINNER, JUDGE                    :
                                                          :
&                                                         :
                                                          :
CASSANDRA KING                                            :

                                        COMPLAINT

         Now comes Plaintiff, KBW Investment Properties, LLC (hereinafter “Plaintiff”), by and

through the undersigned counsel of record, pursuant to all applicable Federal Rules of Civil
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Procedure, and for its Complaint against Alex Azar, in his official capacity as Secretary of the U.S.

Department of Health and Human Services, the U.S. Department of Health and Human Services

(hereinafter collectively “HHS”), Nina B. Wikofsky, in her official capacity as acting Chief of

Staff U.S. Centers for Disease Contract and Prevention, U.S. Centers for Disease Control and

Prevention (hereinafter collectively “CDC”), the Franklin County, Ohio Municipal Court, c/o

Honorable Jarrod B. Skinner, Judge, (hereinafter “FCMC”), and Cassandra King (hereinafter

“King”), states as follows:

                                             PARTIES

1. Plaintiff is an Ohio limited liability company that owns residential rental properties in Franklin,

   County, Ohio.

2. On or about February 1, 2020, Plaintiff rented a residential apartment home to King, a tenant

   at the address located at 2322 McGuffey Road, Columbus, Ohio 43211 (hereinafter “the

   Subject Premises”).

3. February 2020 rent was paid by the Community Shelter Board.

4. King failed to pay rent for the months of March, April, May, June, July, August and September

   2020.

5. King also failed to pay for water usage for her entire tenancy at the Subject Premises.

6. On or about August 13, 2020, after serving a statutory eviction notice pursuant to Ohio Revised

   Code § 1923.04, Plaintiff caused an eviction action to be filed in the Franklin County, Ohio

   Municipal Court, case number 2020 CVG 19567 (hereinafter “the Action”).

7. On or about September 4, 2020 the CDC published a regulation in the Code of Federal

   Regulation 85 Fed. Reg. 5592 (Sept. 4, 2020), purportedly attempting to halt all residential

   evictions in the United States upon presentation by a tenant to a landlord of a Certification




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   created by the CDC certifying that the tenant has used best efforts to obtain government

   assistance, cannot pay all the rent due to COVID-19, and will be homeless unless the eviction

   is stopped.

8. On or about September 3, 2020 Plaintiff’s members met King in the Columbus Convention

   Center to attend the eviction hearing scheduled for that date.

9. On or about September 3, 2020, Plaintiff’s members offered to allow King to remain in the

   Subject Premises if she would apply for rental assistance with IMPACT, a community

   organization that has been allocated approximately 6 million dollars in CARES Act funds to

   appropriate to tenants who cannot pay their rent in Franklin County, Ohio.

10. IMPACT maintains an office at eviction court in Franklin County, Ohio currently located in

   the Columbus Convention Center.

11. Upon knowledge and belief, IMPACT has generally approved payment of all past due rent,

   fees, and costs associated with a default of a residential lease in order to avoid an eviction.

12. King elected not to enter into a repayment plan with Plaintiff and King did not apply for

   IMPACT funds.

13. Instead, King entered into an Agreed Entry to move from the Subject Premises.

14. A copy of the agreed court order wherein King agreed to move from the Subject Premises is

   attached hereto and labeled Exhibit “A”.

15. King was supposed to move from the Subject Premises or be subject to an eviction and

   immediate set out on or before September 10, 2020.

16. On September 10, 2020, King filed a Motion to Stay Set Out with the Franklin County

   Municipal Court, attached hereto as Exhibit “B”, and King filed a Declaration for CDC

   Temporary Halt in Evictions, attached hereto as Exhibit “C”.




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17. On or about September 14, 2020, without any notice, hearing or opportunity to respond to

   King’s Motion to Stay the Set Out, Judge Jarrod B. Skinner of the Franklin County Municipal

   Court issued an Order staying the Set Out until apparently after the CDC regulation ceases to

   be in effect or December 31, 2020.

18. The Municipal Court’s Order, attached hereto as Exhibit “D”, requests that a Court of higher

   jurisdiction issue an opinion on the enforceability of the CDC Order.

19. FCMC wholly failed to evaluate the veracity of the CDC certification issued by King to the

   Court.

20. Plaintiff never received a copy of the CDC certification from King before the Municipal

   Court’s Order was issued, it went directly to the Court.

21. FCMC and the CDC Order denied Plaintiff access to the Court after King had agreed to move

   out via agreed Court Order.

22. Defendant HHS is sued in an official capacity and as agency of the United States.

23. Defendant CDC is an agency within HHS and is responsible for the unconstitutional regulation

   being challenged in this case.

                                 JURISDICTION AND VENUE

24. This Court has federal question jurisdiction pursuant to 5 U.S.C. § 702 and 28 U.S.C. § 1331,

   as this matter involves questions arising under the Constitution of the United States and the

   Administrative Procedure Act.

25. This Court has authority to grant declaratory and injunctive relief in this matter pursuant to 28

   U.S.C. § 2201 and 2202.




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26. Venue for this action properly lies in this district pursuant to 28 U.S.C. §§ 1391(b) because

   FCMC is in this jurisdiction and the decision giving rise to this case was made by FCMC in

   this jurisdiction.

                                      SUPPLEMENTAL FACTS

27. Plaintiff owns residential rental properties in Franklin, County, Ohio.

28. On or about February 1, 2020, Plaintiff rented a residential apartment home to King for the

   Subject Premises pursuant to a lease agreement.

29. King moved into the Subject Premises on February 1, 2020.

30. Pursuant to the lease agreement, King is to pay $795.00 per month. Her rent is due on or before

   the first of each month.

31. Pursuant to the lease agreement, King is to pay for all utilities used at the Subject Premises,

   including water.

32. The Community Shelter Board, located in Franklin County, Ohio, paid King’s February 2020

   rent and her security deposit under the lease agreement.

33. King failed to pay rent timely for the month of March 2020.

34. King or someone on her behalf made a partial payment in the amount of $360.00 on March 11,

   2020. No other payments have been paid by King or anyone on her behalf since said date.

35. King has now failed to pay rent for the months of March, April, May, June, July, August and

   September 2020.

36. King has also failed to pay for water usage for the months of February, March, April, May,

   June, July, August and September.

37. King has never offered Plaintiff any payments since March 11, 2020.




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38. King has fallen behind on rent, and asserted to Plaintiff that she is unable to pay because of

   economic stress arising from the COVID-19 pandemic, has used best efforts to obtain available

   government assistance and otherwise pay rent, has no other home to go to, and is making less

   than $99,000.00 annually.

39. To date, King owes $6,037.93 in unpaid rent and utilities, and she has made no attempts to pay

   any amount since March 11, 2020.

40. On March 27, 2020, Congress passed the Coronavirus Aid, Relief, and Economic Security

   (“CARES”) Act, P.L. 116-316, which included in Section 4024 of the Act a limited and

   temporary moratorium on evictions for certain types of federally backed housing. Said

   moratorium expired on July 24, 2020.

41. On September 1, 2020 Defendant Acting Chief Witkofsky issued an order titled, “Temporary

   Halt Residential Evictions to Prevent Further Spread of COVID-19.” (“the Order”).

42. The Order went into effect when it was published in the Federal Register on September 4,

   2020. 85 Fed. Reg. 55292 (Sept. 4, 2020), see

   https://www.federalregister.gov/documents/2020/09/04/2020-19654/temporary-halt-in-

   residential-evictions-to-prevent-the-further-spread-of-covid-19

43. The Order provided, “Under this Order, a landlord, owner of a residential property, or other

   person with a legal right to pursue eviction or possessory action, shall not evict any covered

   person from any residential property in any jurisdiction to which this Order applies during the

   effective period of the Order.” Id.

44. The Order is not effective so long as a local jurisdiction applied similar eviction restrictions.

   Id.

45. Ohio does not have similar eviction restrictions; therefore, the Order is effective.




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46. The Order defines, “Evict” and “Eviction” as any action by a landlord, owner of a residential

   property, or other person with a legal right to pursue eviction or a possessory action, to remove

   or cause the removal of a covered person from a residential property. Id. at 55296.

47. The Order states “[A] person violating this Order may be subject to a fine of no more than

   $1000,000 if the violation does not result in a death or one year in jail, or both, or a fine of no

   more than $250,000 if the violation results in a death or one year in jail, or both.” Id.

48. The Order is in effect from September 4, 2020 through December 31, 2020, unless extended.

   Id. at 55297.

49. Plaintiff has followed all applicable laws in accordance with the lease agreement and Ohio

   Law.

50. On or about September 3, 2020 Plaintiff’s members met King in the Columbus Convention

   Center to attend the eviction hearing scheduled for that date.

51. On or about September 3, 2020, Plaintiff’s members offered to allow King to remain in the

   Subject Premises if she would apply for rental assistance with IMPACT, a community

   organization that has been allocated approximately 6 million dollars in CARES Act funds to

   appropriate to tenants who cannot pay their rent in Franklin County, Ohio.

52. IMPACT maintains an office at eviction court in Franklin County, Ohio currently located in

   the Columbus Convention Center.

53. Upon knowledge and belief, IMPACT has generally approved payment of all past due rent,

   fees, and costs associated with a default of a residential lease in order to avoid an eviction.

54. King elected not to enter into a repayment plan with Plaintiff and King did not apply for

   IMPACT funds.

55. Instead, King entered into an Agreed Entry to move from the Subject Premises.




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56. A copy of the agreed court order wherein King agreed to move from the Subject Premises is

   attached hereto and labeled Exhibit “A”.

57. King was supposed to move from the Subject Premises or be subject to an eviction and

   immediate set out on or before September 10, 2020.

58. On September 10, 2020, King filed a Motion to Stay Set Out with the Franklin County

   Municipal Court, attached hereto as Exhibit “B”, and King filed a Declaration for CDC

   Temporary Halt in Evictions, attached hereto as Exhibit “C”.

59. On or about September 14, 2020, without any notice, hearing or opportunity to respond to

   King’s Motion to Stay the Set Out, Judge Jarrod B. Skinner of the Franklin County Municipal

   Court issued an Order staying the Set Out until apparently after the CDC regulation ceases to

   be in effect or December 31, 2020.

60. The Municipal Court’s Order, attached hereto as Exhibit “D”, requests that a Court of higher

   jurisdiction issue an opinion on the enforceability of the CDC regulation.

61. FCMC wholly failed to evaluate the veracity of the CDC certification issued by King to the

   Court.

62. Plaintiff never received a copy of the CDC certification from King before the Municipal

   Court’s Order was issued, it went directly to the Court.

63. FCMC and the CDC Order denied Plaintiff access to the Court after King had agreed to move

   out via agreed Court Order.

64. Upon knowledge and belief King has lied, mislead, and omitted information when she signed

   the CDC declaration/certification.

65. Plaintiff has continued to provide a habitable property to King.




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66. As a result of the Order, Plaintiff has suffered and continues to suffer significant economic

   damages; including but not limited to, King’s unpaid balance of $6,037.93, monthly

   maintenance costs to provide a habitable unit, damages to its property, lost opportunity to rent

   and use the property at fair market value, and the local government’s offer to rehabilitate the

   Subject Premises.

67. King is also insolvent, and Plaintiff will unlikely be able to obtain any economic relief or

   damages from King once the Order expires.

68. Plaintiff’s sole ability to mitigate its damages is to evict King from the Premises, who is

   unlawfully detaining the Subject Premises from Plaintiff.

        COUNT I: UNLAWFUL AGENCY ACTION IN VIOLATION OF THE
 ADMINISTRATIVE PROCEDURE ACT, 5 U.S.C. §§ 706(2)(B),(C)—CDC EXCEEDED
  ITS STATUTORY AND REGULATORY AUTHORITY BY ISSUING THE HALT IN
                    RESIDENTIAL EVICTIONS ORDER.

69. Plaintiff hereby incorporates by reference all of the preceding material as though fully set forth

   herein.

70. Under the Administrative Procedure Act, this Court is authorized to hold unlawful and set aside

   agency action, findings, and conclusions that it finds to be contrary to constitutional right or in

   excess of statutory jurisdiction, authority, or limitations, or short of statutory right. See 5 U.S.C.

   §§ 706(2)(B), (C).

71. The Order was purportedly issued under the authority of “Section 361 of the Public Health

   Service Act (42 U.S.C. 264) and 42 CFR 70.2.”

72. Under 42 U.S.C. § 264(a) the CDC may only “make and enforce such regulations” that “are

   necessary to prevent the introduction, transmission, or spread of communicable diseases from

   foreign countries into the States or possessions, or from one State or possession into any other

   State or possession” and “may provide for such inspection, fumigation, disinfection, sanitation,



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   pest extermination, destruction of animals or articles found to be so infected or contaminated

   as to be sources of dangerous infection to human beings, and other measures, as in his judgment

   may be necessary” to carry out and enforce such regulations.

73. Under 42 C.F.R. § 70.2, when the Director of the CDC “determines that the measures taken by

   health authorities of any State or possession (including political subdivisions thereof) are

   insufficient to prevent the spread of any of the communicable diseases from such State or

   possession to any other State or possession” the Director is authorized to “take such measures

   to prevent such spread of the diseases as he/she deems reasonably necessary, including

   inspection, fumigation, disinfection, sanitation, pest extermination, and destruction of animals

   or articles believed to be sources of infection.”

74. The Order purports to restrict “a landlord, owner of a residential property, or other person with

   a legal right to pursue eviction or possessory action” from “evict[ing] any covered person from

   any residential property in any jurisdiction to which this Order applies during the effective

   period of the Order.” 85 Fed. Reg. at 55292.

75. A “covered person” is “any tenant, lessee, or resident of a residential property who provides to

   their landlord, the owner of the residential property, or other person with a legal right to pursue

   eviction or a possessory action, a declaration under penalty of perjury indicating” certain

   information outlined in the Order. 85 Fed. Reg. at 55293; see also 85 Fed. Reg. at 55297 (CDC

   Declaration form).

76. The effective period of the Order is from September 4, 2020 through December 31, 2020. 85

   Fed. Reg. at 55292.




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77. The Order only applies to States, local, territorial, or tribal areas that do not have “a moratorium

    on residential evictions that provides the same or greater level of public-health protection than

    the requirements listed in this Order.” 85 Fed. Reg. at 55292.

78. The Order applies to Ohio.

79. The Order baldly states that Defendant Witkofsky “determined the temporary halt in evictions

    in this Order constitutes a reasonably necessary measure under 42 CFR 70.2 to prevent the

    further spread of COVID-19 throughout the United States.” 85 Fed. Reg. at 55296. The Order

    further states that she “determined that measures by states, localities, or U.S. territories that do

    not meet or exceed these minimum protections [i.e., those that have residential eviction

    moratoria] are insufficient to prevent the interstate spread of COVID-19.” 85 Fed. Reg. at

    55296.

80. The Order does not identify or offer any analysis whatsoever about which States, local,

    territorial, or tribal areas have “a moratorium on residential evictions that provides the same

    or greater level of public-health protection than the requirements listed in this Order.” 85

    Fed. Reg. at 55292.

    47. Individuals or organizations that violate the Order are subject to criminal penalties,

    including fines and jail time. See 85 Fed. Reg. at 55296; see also 18 U.S.C. §§ 3559, 3571;

    42 U.S.C. § 271; 42 C.F.R. § 70.18.

81. Agencies have no inherent power to make law. See Loving v. United States, 517 U.S. 748,

    758 (1996) (“the lawmaking function belongs to Congress ... and may not be conveyed to

    another branch or entity.”). This limitation is a constitutional barrier to an exercise of

    legislative power by the executive branch. Agencies have “no power to act ... unless and until




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   Congress confers power upon [them].” Louisiana Pub. Serv. Comm’n v. FCC, 476 U.S. 355,

   374 (1986).

82. Nothing in the relevant statutes or regulations purports to give CDC the power or authority to

   issue an eviction-moratorium order.

83. Nothing in the relevant statutes or regulations purports to give CDC the power or authority to

   criminalize otherwise lawful behavior.

84. The Order was issued in excess of any statutory authority and is therefore invalid.

   WHEREFORE, Plaintiff demands judgment against CDC invalidating CDC’s eviction-

   moratorium order, preliminary and permanent injunctive relief from the Order, and any other

   relief that may be appropriate, and any other relief that may be appropriate.


    COUNT II: VIOLATION OF THE RIGHT OF ACCESS TO COURTS UNDER THE
     U.S. CONSTITUTION—THE ORDER, THE CDC, AND FRANKLIN COUNTY
     MUNICIPAL COURT UNLAWFULLY DENIED PLAINTIFF ACCESS TO THE
          ONLY LAWFUL MEANS OF EVICTING A DELINQUENT TENANT

85. Plaintiff incorporates by reference all of the preceding material as though fully set forth

   herein.

86. The Article IV Privileges and Immunities Clause, the First Amendment Petition Clause, the

   Fifth and Fourteenth Amendment Due Process Clauses and the Fourteenth Amendment’s

   Equal Protection Clause collectively provide a federal constitutional right of access to courts.

   Christopher v. Harbury, 536 U.S. 403, 415, 415 n. 12 (2002).

87. No state actor may systemically frustrate a plaintiff “in preparing and filing suits” by

   foreclosing a particular type of relief. Id. at 413.

88. An unlawful detainer action is a landlord’s sole means of reacquiring possession of his

   residential property in Ohio.




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89. On or about September 8, 2020 Plaintiff’s members met King in the Columbus Convention

   Center to attend the eviction hearing scheduled for that date.

90. On or about September 8, 2020, Plaintiff’s members offered to allow King to remain in the

   Subject Premises if she would apply for rental assistance with IMPACT, a community

   organization that has been allocated approximately 6 million dollars in CARES Act funds to

   appropriate to tenants who cannot pay their rent in Franklin County, Ohio.

91. IMPACT maintains an office at eviction court in Franklin County, Ohio currently located in

   the Columbus Convention Center.

92. Upon knowledge and belief, IMPACT has generally approved payment of all past due rent,

   fees, and costs associated with a default of a residential lease in order to avoid an eviction.

93. King elected not to enter into a repayment plan with Plaintiff and King did not apply for

   IMPACT funds.

94. Instead, King entered into an Agreed Entry to move from the Subject Premises.

95. A copy of the agreed court order wherein King agreed to move from the Subject Premises is

   attached hereto and labeled Exhibit “A”.

96. King was supposed on move from the Subject Premises or be subject to an eviction and

   immediate set out on or before September 10, 2020.

97. On September 10, 2020, King filed a Motion to Stay Set Out with the Franklin County

   Municipal Court, attached hereto as Exhibit “B”, and King filed a Declaration for CDC

   Temporary Halt in Evictions, attached hereto as Exhibit “C”.

98. On or about September 14, 2020, without any notice, hearing or opportunity to respond to

   King’s Motion to Stay the Set Out, Judge Jarrod B. Skinner of the Franklin County Municipal




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   Court issued an Order staying the Set Out until apparently after the CDC regulation ceases to

   be in effect or December 31, 2020.

99. The Municipal Court’s Order, attached hereto as Exhibit “D”, requests that a Court of higher

   jurisdiction issue an opinion on the enforceability of the CDC regulation.

100.   The Municipal Court wholly failed to evaluate the veracity of the CDC certification issued

   by King to the Court.

101.   Plaintiff never received a copy of the CDC certification from King before the Municipal

   Court’s Order was issued, it went directly to the Court.

102.   The Municipal Court and the CDC Order denied Plaintiff access to the Court after King

   had agreed to move out via agreed Court Order.

103.   Upon knowledge and belief King has lied, mislead, and omitted information when she

   signed the CDC certification.

104.   Plaintiff has continued to provide a habitable property to King.

105.   As a result of the Order, Plaintiff has suffered and continues to suffer significant economic

   damages; including but not limited to, King’s unpaid balance of $6,037.93, monthly

   maintenance costs to provide a habitable unit, damages to its property, lost opportunity to rent

   and use the property at fair market value.

106.   By operation of the Order, Plaintiff is unable to obtain a writ of eviction pursuant to an

   eviction action where it was already granted judgment.

107.   Plaintiff now has no ability to legally oust his tenant for nonpayment of rent.

   WHEREFORE, Plaintiff demands judgment against CDC and FCMC invalidating CDC’s

   eviction moratorium order, preliminary and permanent injunctive relief from the Order, and

   any other relief that may be appropriate, and any other relief that may be appropriate.




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       COUNT III: VIOLATION OF U.S. CONSTITUTION’S SUPREMACY CLAUSE—
        THE CDC EVICTION-MORATORIUM ORDER CANNOT BE THE SUPREME
       LAW OF THE LAND BECAUSE IT IS NOT A LAW ADOPTED PURSUANT TO
                              THE CONSTITUTION

108.    Plaintiff incorporates by reference all of the preceding material as though fully set forth

   herein.

109.    Article VI, Clause 2 of the United States Constitution provides: “This Constitution, and

   the Laws of the United States which shall be made in Pursuance thereof; and all treaties

   made, or which shall be made, under the authority of the United States, shall be the supreme

   law of the land; and the judges in every state shall be bound thereby, anything in the

   Constitution or laws of any State to the contrary notwithstanding.”

110.    The Supremacy Clause grants “supreme” status only to the “Laws of the United States.”

   Id. (emphasis added).

111.    “[A]n agency literally has no power to act, let alone to pre-empt the validly enacted

   legislation of a sovereign State, unless and until Congress confers power upon it.” New York

   v. FERC, 535 U.S. 1, 18 (2002).

112.    “[P]reemption takes place only when and if the agency is acting within the scope of its

   congressionally delegated authority.” Merck Sharp & Dohme Corp. v. Albrecht, 139 S. Ct.

   1668, 1679 (2019).

113.    The Supremacy Clause grants “supreme” status only to the “Laws of the United States

   which shall be made in Pursuance thereof,” i.e. in pursuance of “This Constitution.” U.S.

   Const. Art. VI, cl. 2 (emphasis added).

114.    The conditional nature of the Supremacy Clause accords supremacy to federal statutes or

   regulations made “in Pursuance of” the Constitution.




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115.   CDC has not identified any act of Congress that confers upon it the power to impose a

   halt on residential evictions.

116.   CDC has not identified any act of Congress that shows it is acting within the scope of

   some congressionally delegated authority to impose eviction moratoriums across the United

   States.

117.   Indeed, Section 4024 of the CARES Act, which imposed a temporary moratorium on

   certain evictions, contained no delegation of authority to any agency, much less CDC, and

   even then only applied to certain federally-backed housing.

118.   The weaker the link between relevant federal statutes and CDC’s eviction- moratorium

   order, the weaker is CDC’s ability to invoke the Supremacy Clause to deprive Plaintiff of its

   right to state-court eviction process.

   WHEREFORE, Plaintiff demands judgment against CDC invalidating CDC’s eviction-

   moratorium order, preliminary and permanent injunctive relief from the Order, and any other

   relief that may be appropriate, and any other relief that may be appropriate.

       COUNT IV: VIOLATION OF U.S. CONSTITUTION’S SUPREMACY CLAUSE
       AND TENTH AMENDMENT—THE CDC EVICTION- MORATORIUM ORDER
                   DOES NOT VALIDLY PREEMPT STATE LAW

119.   Plaintiff incorporates by reference all of the preceding material as though fully set forth

   herein.

120.   Article VI, Clause 2 of the United States Constitution provides: “This Constitution, and the

   Laws of the United States which shall be made in Pursuance thereof; and all treaties made, or

   which shall be made, under the authority of the United States, shall be the supreme law of the

   land; and the judges in every state shall be bound thereby, anything in the Constitution or laws

   of any State to the contrary notwithstanding.”




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121.   The Tenth Amendment to the United States Constitution provides: “The powers not

   delegated to the United States by the Constitution, nor prohibited by it to the States, are

   reserved to the States respectively, or to the people.”

122.   The relevant statute, 42 U.S.C. § 264(a), only authorizes CDC to make and enforce

   regulations that “provide for such inspection, fumigation, disinfection, sanitation, pest

   extermination, destruction of animals or articles found to be so infected or contaminated as to

   be sources of dangerous infection to human beings, and other measures, as in his judgment

   may be necessary.”

123.   The relevant regulation, 42 C.F.R. § 70.2, also only authorizes CDC to “take measures to

   prevent such spread of the diseases as he/she deems reasonably necessary, including

   inspection, fumigation, disinfection, sanitation, pest extermination, and destruction of animals

   or articles believed to be sources of infection.”

124.   Nothing in the relevant statutes or regulations purports to give CDC the authority to issue

   an eviction-moratorium order that preempts state landlord-tenant law.

125.   Nothing in the relevant statutes or regulations purports to give CDC the authority to

   preempt the Contracts Clause of Article I, Section 10 of the United States Constitution, the

   Contracts Clauses of the state constitutions, or otherwise preempt state law protecting from

   impairment the obligations of private contracts that are in force.

126.   Nothing in the relevant statutes or regulations gives CDC the authority to order a

   nationwide moratorium “to temporarily halt residential evictions to prevent the further spread

   of COVID-19,” CDC Order, 85 Fed. Reg. at 55292, because CDC’s authority is confined to

   undertaking measures providing for “inspection, fumigation, disinfection, sanitation, pest




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   extermination, destruction of animals or articles found to be so infected or contaminated as to

   be sources of dangerous infection to human beings.” 42 U.S.C. § 264(a); 42 C.F.R. § 70.2.

127.   Although “state laws can be pre-empted by federal regulations as well as by federal

   statutes,” Hillsborough County, Fla. v. Automated Medical Lab, Inc., 471 U.S. 707, 713

   (1985), the relevant statute contains a savings clause, which states: “Nothing in this section or

   section 266 of this title, or the regulations promulgated under such sections, may be construed

   as superseding any provision under State law (including regulations and including provisions

   established by political subdivisions of States), except to the extent that such a provision

   conflicts with an exercise of Federal authority under this section or section 266 of this title.”

   42 U.S.C. § 264(e).

128.   The savings clause of 42 U.S.C. § 264(e) states that 42 U.S.C. § 264(a) and 42 C.F.R. §

   70.2 cannot “be construed as superseding any provision under State law (including regulations

   and including provisions established by political subdivisions of States).” In other words, the

   CDC is statutorily expressly deauthorized from issuing orders such as the eviction-moratorium

   order that would supersede state landlord-tenant law, or state laws relating to non- impairment

   of contracts.

129.   The relevant state landlord-tenant laws and laws relating to non-impairment of contracts

   do not conflict with CDC’s authority to regulate “inspection, fumigation, disinfection,

   sanitation, pest extermination, destruction of animals or articles found to be so infected or

   contaminated as to be sources of dangerous infection to human beings.” 42 U.S.C. § 264(a).

130.   Landlord-tenant law and law relating to non-impairment of contracts “has long been

   regarded as a virtually exclusive province of the States” under the Tenth Amendment upon

   which the federal government cannot intrude. Sosna v. Iowa, 419 U.S. 393, 404 (1975). The




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   CDC order displaces inherent state authority over residential evictions and therefore violates

   the Tenth Amendment.

   WHEREFORE, Plaintiff demands judgment against CDC invalidating CDC’s eviction

   moratorium order, preliminary and permanent injunctive relief from the Order, and any other

   relief that may be appropriate, and any other relief that may be appropriate.

       COUNT V: VIOLATION OF U.S. CONSTITUTION’S TENTH AMENDMENT—
         THE CDC EVICTION-MORATORIUM ORDER UNCONSTITUTIONALLY
       COMMANDEERS STATE RESOURCES AND STATE OFFICERS TO ACHIEVE
           FEDERAL POLICY OBJECTVES OR EXECUTE FEDERAL LAWS

131.   Plaintiff incorporates by reference all of the preceding material as though fully set forth

   herein.

132.   The Tenth Amendment to the United States Constitution provides: “The powers not

   delegated to the United States by the Constitution, nor prohibited by it to the States, are

   reserved to the States respectively, or to the people.”

133.   Under the Tenth Amendment and the anti-commandeering doctrine, CDC cannot

   commandeer state resources to achieve federal policy objectives or commandeer state officers

   to execute federal laws.

134.   CDC’s eviction-moratorium order impermissibly commandeers state courts and state

   officers to act as arms of CDC. CDC’s eviction-moratorium order impermissibly commandeers

   state courts and state officers to apply, enforce, and implement an unconstitutional federal law.

   New York v. United States, 505 U.S. 144 (1992); Printz v. United States, 521 U.S. 898 (1997).

135.   CDC cannot order state courts and relevant state actors not to process summary evictions.

   A landlord, like Plaintiff, who relies on state process, runs the risk of a federal prosecution

   for doing so. Plaintiff runs the risk of being fined up to $250,000 and sentenced to one year

   in jail for invoking and utilizing relevant state laws. See CDC Order, 85 Fed. Reg. at 55296.



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136.   Neither Congress nor CDC can “compel the States to ... administer a federal regulatory

   program.” New York v. United States, 504 U.S. at 188. Neither Congress nor CDC can “halt”

   pending or forthcoming state adjudicatory proceedings. CDC Order, 85 Fed. Reg. at 55296.

   Neither Congress nor CDC can modify state judicial processes by dictating that a declaration

   executed by a tenant shall be adequate proof or otherwise suffice to halt or suspend the

   judicial eviction action. Id. at 55292–93, 55297.

   WHEREFORE, Plaintiff demands judgment against CDC invalidating CDC’s eviction-

   moratorium order, preliminary and permanent injunctive relief from the Order, and any other

   relief that may be appropriate, and any other relief that may be appropriate.

   COUNT VI: VIOLATION OF U.S. CONSTITUTION ART I, § 1—THE CDC ORDER
             IS AN INVALID EXERCISE OF LEGISLATIVE POWER

137.   Plaintiff incorporates by reference all of the preceding material as though fully set forth

   herein.

138.   Article I, § 1 of the U.S. Constitution states, “All legislative Powers herein granted shall

   be vested in a Congress of the United States.” (Emphasis added.) The grant of “[a]ll

   legislative Powers” to Congress in the Vesting Clause means that Congress may not divest

   “powers which are strictly and exclusively legislative.” Wayman v. Southard, 23 U.S. 1, 42-

   43 (1825).

139.   Whether federal legislation effects a permissible or prohibited delegation of legislative

   powers—and thus violates the Article I, § 1 Vesting Clause—is determined based on whether

   the legislation provides “an intelligible principle” to which an administering agency is

   directed to conform when carrying out its functions under the legislation. Mistretta v. United

   States, 488 U.S. 361, 372 (1989). If the law fails to provide a guiding principle of that sort




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   but instead delegates to the agency authority to establish its own policies, the legislation is

   invalid because it violates the Vesting Clause. Id.

140.   As interpreted by CDC, 42 U.S.C. § 264(a) fails to set forth any “intelligible principle” to

   which CDC is directed to conform. Citing § 264(a), the Order imposes a nationwide

   moratorium on residential evictions based on CDC’s judgment that a moratorium is necessary

   to curb “the introduction, transmission, or spread of communicable diseases.” But if that

   finding is sufficient to justify the moratorium, then § 264(a) imposes no discernible limits on

   CDC’s regulatory authority.

141.   Alternatively, if § 264(a) supplies a sufficient intelligible principle under current

   interpretation, then the doctrine must be re-examined so as to adhere to the proper limits

   contained in the Vesting Clause of Article I, § 1.

142.   As interpreted by the Order, § 264(a) would also authorize CDC to prohibit all citizens

   from attending church services, assembling for the purpose of expressing their political

   views, or even leaving their own homes. It is debatable whether such measures could pass

   constitutional muster if adopted by Congress itself; but it is beyond dispute that such

   measures constitute the sorts of policy decisions that the Constitution reserves to Congress

   alone in its role as the Nation’s exclusive repository of legislative power.

143.   Because § 264(a), as interpreted by CDC, fails to include an intelligible principle that

   imposes limits on CDC’s alleged regulatory authority, § 264(a) violates the Article I, § 1

   Vesting Clause and is thus invalid as applied.

144.   Because § 264(a) is unconstitutional as applied here, CDC lacks any statutory authority to

   adopt the Order.




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   WHEREFORE, Plaintiff demands judgment against CDC invalidating CDC’s eviction-

   moratorium order, preliminary and permanent injunctive relief from the Order, and any other

   relief that may be appropriate.

       COUNT VII: UNLAWFUL SUSPENSION OF LAW—NEITHER STATUTE NOR
         CONSTITUTION AUTHORIZES CDC TO WAIVE, DISPENSE WITH, OR
                       SUSPEND STATE EVICTION LAWS

145.   Plaintiff incorporates by reference all of the preceding material as though fully set forth

   herein.

146.   Evictions are a function of the police power of the several states. Cf. Edgar A. Levy

   Leasing Co. v. Siegel, 258 U.S. 242, 247 (1922) (considering the New York legislature’s

   authority to enact emergency housing laws under the state’s police power). In Ohio, a

   landlord’s rights and remedies upon a material breach of a rental agreement, including the

   right to an eviction and the recovery of possession based on nonpayment of rent, are

   governed by a comprehensive statutory scheme. See Oh. Rev. Code 1923.01 et seq.

147.   CDC’s order purports to waive or suspend the duly enacted laws that govern evictions in

   the State of Ohio.

148.   CDC has no authority to waive, dispense with, or suspend duly enacted state laws; nor

   does the Executive Branch more generally. See Matthews v. Zane’s Lessee, 9 U.S. 92, 98

   (1809) (Marshall, C.J.) (“The president cannot dispense with the law, nor suspend its

   operation.”); Baker v. Carr, 369 U.S. 186, 244 n.2 (1962) (“No tribunal or department in our

   system of governments ever can be lawfully authorized to dispense with the laws, like some

   of the tyrannical Stuarts, or to repeal, or abolish, or suspend the whole body of them[.]”)

   (quoting Luther v. Borden, 48 U.S. 1, 69 (1849) (Woodbury, J., dissenting)).




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149.   To the contrary, the United States Constitution forbids the Executive Branch from

   suspending the law.

150.   The separation of powers enshrined in our Constitution prevents the suspension of law

   through executive action, as it would effect a merger of the executive and legislative powers.

   See Philip Hamburger, Nat’l Rev., Are Health Care Waivers Unconstitutional? (Feb. 8,

   2011), available at https://www.nationalreview.com/2011/02/are-health-care-

   waiversunconstitutional- philip-hamburger (“The power to dispense with the laws had no

   place in a constitution that divided the active power of government into executive and

   legislative powers.”). Suspension of laws by the Executive Branch is “a power exercised not

   through and under the law, but above it.” Id.

151.   The Founder’s placement of the Suspension Clause in Article I reflects that the U.S.

   Constitution continued the English common-law tradition of vesting the suspension power

   solely in the Legislative Branch. See Philip Hamburger, Beyond Protection, 109 COLUM. L.

   REV. 1823, 1919 (2009); Amanda L. Tyler, Habeas Corpus in Wartime: From the Tower of

   London to Guantanamo Bay (2017) (chronicling the original meaning of the Suspension

   Clause). The limited exception for the suspension of habeas corpus “in Cases of Rebellion or

   Invasion” when “the public Safety may require it” proves the more general rule that duly

   enacted laws may not be suspended during an emergency that is neither a rebellion nor an

   invasion, even by Congress. U.S. Cont., art. I, § 9, cl. 2.

152.   In contrast to the legislature’s suspension authority, the executive “could not, even during

   an emergency, seize property” or “constrain the natural liberty of persons who were within

   the protection of the law, unless [the executive] had legislative authorization.” Hamburger,

   Beyond Protection, 109 COLUM. L. REV. at 1919.




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153.     CDC has not identified any act of Congress that delegated authority to impose an eviction

   moratorium across the United States. Section 264(a) authorizes CDC only to make and enforce

   regulations that “provide for such inspection, fumigation, disinfection, sanitation, pest

   extermination, destruction of animals or articles found to be so infected or contaminated as to

   be sources of dangerous infection to human beings, and other measures, as in his judgment

   may be necessary.”

154.     With no applicable grant of statutory authority to suspend laws, CDC has no authority to

   do anything with respect to Ohio’s comprehensive laws. See Home Bldg & Loan Ass’n v.

   Blaisdell, 290 U.S. 398, 425 (1934) (“Emergency does not create power. Emergency does not

   increase granted power or remove or diminish the restrictions imposed upon power granted

   or reserved.”).

155.     Because CDC could not lawfully waive the application of Ohio’s laws governing

   evictions, Oh. Rev. Code 1923.01 et seq., the Order is void ab initio and must fail.

   WHEREFORE, Plaintiff demands judgment against CDC invalidating CDC’s eviction-

   moratorium order, preliminary and permanent injunctive relief from the Order, and any other

   relief that may be appropriate, and any other relief that may be appropriate.

       COUNT VIII: VIOLATION OF 42 U.S.C. §1983: VIOLATION OF THE RIGHT OF
          ACCESS TO COURTS UNDER THE U.S. CONSTITUTION—FCMC HAS
       UNLAWFULLY DENIED PLAINTIFF ACCESS TO THE ONLY LAWFUL MEANS
                       OF EVICTING A DELINQUENT TENANT

156.     Plaintiff incorporates by reference all of the preceding material as though fully set forth

   herein.

157.     The Article IV Privileges and Immunities Clause, the First Amendment Petition Clause,

   the Fifth and Fourteenth Amendment Due Process Clauses and the Fourteenth Amendment’s




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   Equal Protection Clause collectively provide a federal constitutional right of access to courts.

   Christopher v. Harbury, 536 U.S. 403, 415, 415 n. 12 (2002).

158.   No state actor may systemically frustrate a plaintiff “in preparing and filing suits” by

   foreclosing a particular type of relief. Id. at 413.

159.   An unlawful detainer action is a landlord’s sole means of reacquiring possession of his

   residential property in Ohio.

160.   On or about September 8, 2020 Plaintiff’s members met King in the Columbus Convention

   Center to attend the eviction hearing scheduled for that date.

161.   On or about September 8, 2020, Plaintiff’s members offered to allow King to remain in the

   Subject Premises if she would apply for rental assistance with IMPACT, a community

   organization that has been allocated approximately 6 million dollars in CARES Act funds to

   appropriate to tenants who cannot pay their rent in Franklin County, Ohio.

162.   IMPACT maintains an office at eviction court in Franklin County, Ohio currently located

   in the Columbus Convention Center.

163.   Upon knowledge and belief, IMPACT has generally approved payment of all past due rent,

   fees, and costs associated with a default of a residential lease in order to avoid an eviction.

164.   King elected not to enter into a repayment plan with Plaintiff and King did not apply for

   IMPACT funds.

165.   Instead, King entered into an Agreed Entry to move from the Subject Premises.

166.   A copy of the agreed court order wherein King agreed to move from the Subject Premises

   is attached hereto and labeled Exhibit “A”.

167.   King was supposed to move from the Subject Premises or be subject to an eviction and

   immediate set out on or before September 10, 2020.




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168.   On September 10, 2020, King filed a Motion to Stay Set Out with the Franklin County

   Municipal Court, attached hereto as Exhibit “B”, and King filed a Declaration for CDC

   Temporary Halt in Evictions, attached hereto as Exhibit “C”.

169.   On or about September 14, 2020, without any notice, hearing or opportunity to respond to

   King’s Motion to Stay the Set Out, Judge Jarrod B. Skinner of the Franklin County Municipal

   Court issued an Order staying the Set Out until apparently after the CDC regulation ceases to

   be in effect or December 31, 2020.

170.   The Municipal Court’s Order, attached hereto as Exhibit “D”, requests that a Court of

   higher jurisdiction issue an opinion on the enforceability of the CDC regulation.

171.   The Municipal Court wholly failed to evaluate the veracity of the CDC certification issued

   by King to the Court.

172.   Plaintiff never received a copy of the CDC certification from King before the Municipal

   Court’s Order was issued, it went directly to the Court.

173.   FCMC denied Plaintiff access to the Court after King had agreed to move out via agreed

   Court Order.

174.   Plaintiff has now suffered damages as a result.

   WHEREFORE, Plaintiff demands judgment against FCMC for unlawfully denying it access

   to Court, preliminary and permanent injunctive relief from the Order, and any other relief that

   may be appropriate.

       COUNT IX: VIOLATION OF 28 U.S.C. §1746 AND PERJURY AGAINST KING
       FOR LYING, MISLEADING, AND OR OMMITTING INFORMATION ON CDC
                        DECLARATION/CERTIFICATION

175.   Plaintiff incorporates by reference all of the preceding material as though fully set forth

   herein.




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176.   King signed the CDC Declaration under penalty of perjury pursuant to 28 U.S.C. §1746.

177.   Upon knowledge and belief King lied, mislead, and or omitted information on the CDC

   declaration/certification.

178.   As a result of her actions, King has violated the provisions under 28 U.S.C. §1746.

179.   Additionally, Plaintiff has suffered damages as a result of King’s false declaration.

WHEREFORE, Plaintiff hereby respectfully request the following:

   a) Plaintiff demands judgment against CDC and FCMC invalidating CDC’s eviction

       moratorium order and any other relief that may be appropriate;

   b) Plaintiff demands judgment against FCMC for unlawfully denying it access to Court and

       any other relief that may be appropriate;

   c) Plaintiff demands judgment against King for violation of 28 U.S.C. §1746 and any other

       relief that may be appropriate;

   d) Plaintiff demands preliminary and permanent injunctive relief from Defendant, the Order

       and FCMC as requested in Exhibit E;

   a) Plaintiff demands any other relief that may be appropriate including but not limited to its

       attorney fees, expenses, court costs.

                                                     Respectfully submitted,
                                                     Willis Law firm LLC

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                                           Attorneys for Plaintiff




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